Case 1:04-cv-01283-.]DT-STA Document 71 Filed 04/20/05 Page 1 of 4 Page|D 67

IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE 42
EASTERN DIVISION @
§§ <9’ §/
TECHTRONIC INDUSTRIES NORTH § '"9;> `\\
AMERICA, INC., § ,'-'-§_&§§3<;; § “°0 \
§ ‘3;'>"'?-:?;:"*’59 ’9§' 530
Plaintiff, § <’ /;Q,' Q, <?» '
§ /~k 'J)Q//’:?D ";’
v. § cIvIL ACTION No.: 1-04-1283-T/A°§c,;»»4/"<5:'a
m cy
§ @-
sHANE DEXTER and §
THE BLACK & DECKER coRP., §
§
Defendants §
0RDER GRANTING

TECHTRONIC INDUSTR_IES NORTH AMERICA. INC.'S
MOTION FOR DISMISSAL OF COMPLAINT

On motion of the Plaintiff Techtronic lndustries North America, Inc. ("TTI"), and for
good cause shown it is hereby
ORDERED, ADIUDGED, AND DECREED that the complaint filed in this matter is

hereby dismissed Without prejudice as to both defendants, With all costs of court to be assessed to

 
 

 

the Plaintiff.
HO JAMES D. TODD
ED SIATES DISTRICT COURT JUDGE
2‘0
Dated: m, 2005.
APPROVED FOR ENTRY:

 
    

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Thls document entered on the dockets et ln ompllanoe
with Rule 58 and,'or_'!a (a) FRCP on
nLI-ssovol cwa l ‘/\\

Case 1:04-cv-01283-.]DT-STA Document 71 Filed 04/.20/05 Page 2 of 4 Page|D 68

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DLl-5907016v1 2

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Was served on the following
by U.S. Mail and facsimile this _§th day of March, 2005, addressed as follows:

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TAET

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 1:04-CV-01283 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

